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 7

 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   MICHAEL C. KEO, an individual,         Case No.: 8:22-cv-00875
12              Plaintiff,                  COMPLAINT FOR
13        vs.
                                            (1) VIOLATION OF THE UNRUH
14   TWO UNOIL, LLC, a limited liability        CIVIL RIGHTS ACT
     company;
15                                              (CALIFORNIA CIVIL CODE §§
                Defendants.                     51, 52);
16
                                            (2) VIOLATIONS OF THE
17                                              AMERICANS WITH
18                                              DISABILITIES ACT OF 1990

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                                      COMPLAINT
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 1                                               I.
                                              SUMMARY
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 3           1.    This is a civil rights action by plaintiff Michael C. Keo (“Plaintiff”) for
 4   discrimination at the building, structure, facility, complex, property, land,
 5   development, and/or surrounding business complex located at 105 S. Vincent Ave.,
 6   West Covina, California 91790 (the “Property”). Plaintiff frequents the area often for
 7   dining and entertainment as he has friends and family that live nearby. On this
 8   particular incident, Plaintiff desired to patronize the “76 Gas Station” store located on
 9   the Property.
10           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
11   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
12   12101, et seq.) and related California statutes1 against Defendant, the owners of the
13   Property TWO UNOIL, LLC, a limited liability company (“Defendant”).
14                                                   II.
15                                         JURISDICTION
16           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
17   for ADA claims.
18           4.    Supplemental jurisdiction for claims brought under parallel California
19   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
20   1367.
21           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
22                                               III.
23                                              VENUE
24           6.    All actions complained of herein take place within the jurisdiction of the
25   United States District Court, Central District of California, and venue is invoked
26   pursuant to 28 U.S.C. § 1391(b), (c).
27                                               IV.
28   1
      Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                    1
                                              COMPLAINT
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 1
                                              PARTIES
 2
           7.       Defendant is or was at the time of the incident, the owner, operator,
 3
     lessor and/or lessee of the Property, and consists of a person (or persons), firm,
 4
     company, and/or corporation.
 5
           8.       Plaintiff is a quadriplegic, and as a result is unable to walk or stand, and
 6
     thus requires a use of a motorized wheelchair at all times when traveling in public.
 7
     Plaintiff also uses an accessible van when traveling. Plaintiff is “physically disabled”
 8
     as defined by all applicable California and United States laws, and a member of the
 9
     public whose rights are protected by these laws. Plaintiff is not a high frequency
10
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
11
     the twelve months preceding the filing of this complaint, Plaintiff has filed
12
     approximately nine (9) other construction accessibility related claims.
13
                                                V.
14
                                               FACTS
15
           9.       On or about February 16, 2022, Plaintiff went to patronize the Property.
16
     The Property is a sales or retail establishment, open to the public, which is intended
17
     for nonresidential use and whose operation affects commerce.
18
           10.      Plaintiff visited the Property and encountered barriers (both physical and
19
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
20
     enjoy the goods, services, privileges and accommodations offered at the facility. To
21
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
22
     to the following:
23
                 a. Accessible pathways are blocked by merchandise which impermissibly
24
                    narrows and blocks accessible pathways such that Plaintiff cannot travel
25
                    safely in his wheelchair throughout the Property.
26
                 b. Accessible parking spaces are not properly marked, including but not
27
                    limited to lack of vertical signage. Without proper markings, it is
28
                    difficult to determine whether such spaces are intend for use by persons
                                                     2
                                             COMPLAINT
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 1
                  with disabilities.
 2
            11.   These barriers to access are listed without prejudice to Plaintiff citing
 3
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
 4
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
 5
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
 6
     Property.
 7
            12.   Plaintiff experienced difficulty, discomfort and embarrassment and/or
 8
     was otherwise deterred from accessing the Property because of the Property’s
 9
     accessible barriers he encountered. Although he would like to visit the Property
10
     again, he continues to be deterred from visiting the Property because of the future
11
     threats of injury created by these barriers. Plaintiff would return to patronize the
12
     Property after Defendant corrects and or remove the accessible barriers as Plaintiff is
13
     often in the area the gas station is conveniently located. Plaintiff would also return to
14
     ensure that the Property complies with the ADA and is accessible to him.
15
            13.   On information and belief, Plaintiff alleges that Defendant knew that
16
     these elements and areas of the Property were inaccessible, violate state and federal
17
     law, and interfere with (or deny) access to the physically disabled. Moreover,
18
     Defendant has the financial resources to remove these barriers from the Property
19
     (without much difficult or expense), and make the Property accessible to the
20
     physically disabled. To date, however, the Defendant refuses to remove those
21
     barriers.
22
            14.   On information and belief, Plaintiff alleges that at all relevant times,
23
     Defendant has possessed and enjoyed sufficient control and authority to modify the
24
     Property to remove impediments to wheelchair access and to comply with the
25
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
26
     Defendant has not removed such impediments and has not modified the Property to
27
     conform to accessibility standards.
28
                                               VI.
                                                 3
                                           COMPLAINT
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 1
           FIRSTCAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
 2
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
 3
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
 4
                                      CODE SECTION 51(f)
 5
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
 6
     14 for this claim and incorporates them herein.
 7
           16.    At all times relevant to this complaint, California Civil Code § 51 has
 8
     provided that physically disabled persons are free and equal citizens of the state,
 9
     regardless of disability or medical condition:
10
           All persons within the jurisdiction of this state are free and equal, and
11
           no matter what their sex, race, color, religion, ancestry, national
12
           origin, disability, or medical condition are entitled to the full and
13
           equal accommodations, advantages, facilities, privileges, or services
14
           in all business establishments of every kind whatsoever. Cal. Civ.
15
           Code § 51(b).
16
           17.     California Civil Code § 52 provides that the discrimination by Defendant
17
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
18
     discrimination provisions of §§ 51 and 52.
19
           18.    Defendant’s discrimination constitutes a separate and distinct violation of
20
     California Civil Code § 52 which provides that:
21
           Whoever denies, aids or incites a denial, or makes any discrimination
22
           or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
23
           every offense for the actual damages, and any amount that may be
24
           determined by a jury, or a court sitting without a jury, up to a
25
           maximum of three times the amount of actual damage but in no case
26
           less than four thousand dollars ($4,000) and any attorney’s fees that
27
           may be determined by the court in addition thereto, suffered by any
28
           person denied the rights provided in Section 51, 51.5 or 51.6.
                                                   4
                                            COMPLAINT
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 1
           19.    Plaintiff continues to be deterred from visiting the Subject Property based
 2
     upon the existence of the accessible barriers. In addition to the occurrence in
 3
     February 2022, Plaintiff is entitled to $4,000.00 in statutory damages for each
 4
     additional occurrence of discrimination under California Civil Code § 52.
 5
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
 6
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
 7
     thus independently justifying an award of damages and injunctive relief pursuant to
 8
     California law. Per § 51(f), “[a] violation of the right of any individual under the
 9
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
10
     section.”
11
           21.    The actions and omissions of Defendant as herein alleged constitute a
12
     denial of access to and use of the described public facilities by physically disabled
13
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
14
     result of Defendant’s action and omissions Defendant has discriminated against
15
     Plaintiff in a violation of Civil Code §§ 51 and 51.
16
                                               VII.
17
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
18
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
19
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
20
     21 for this claim and incorporates them herein.
21
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
22
     Congress passed “Title III – Public Accommodations and Services Operated by
23
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
24
     entities” which are considered “public accommodations” for purposes of this title,
25
     which includes any “restaurant, bar, or other sales or rental establishment serving food
26
     or drink.” § 301(7)(B).
27
           24.    The ADA states that “[n]o individual shall be discriminated against on
28
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
                                                  5
                                           COMPLAINT
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 1
     privileges, advantages, or accommodations of any place of public accommodation by
 2
     any person who owns, leases, or leases to, or operates a place of public
 3
     accommodation.” 42 U.S.C. § 12182.
 4
           25.    The acts and omissions of Defendant set forth herein were in violation of
 5
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
 6
     Part 36 et seq.
 7
           26.    On information and belief, Plaintiff alleges that the Property was
 8
     constructed after January 26, 1992.
 9
           27.    On information and belief, Plaintiff alleges that the removal of each of
10
     the barriers complained of by Plaintiff as hereinabove alleged, were at all times herein
11
     mentioned "readily achievable" under the standards §§ 30 l and 302 of the ADA. As
12
     noted hereinabove, removal of each and every one of the architectural barriers
13
     complained of herein were also required under California law. Further, on information
14
     and belief, alterations, structural repairs or additions since January 26, 1993 have also
15
     independently triggered requirements for removal of barriers to access for disabled
16
     persons per § 303 of the ADA. In the event that removal of any barrier is found to be
17
     "not readily achievable," Defendant still violated the ADA, per§ 302(b )(2)(A)(v) by
18
     failing to provide all goods, services, privileges, advantages and accommodations
19
     through alternative methods that were readily achievable.
20
           28.    On information and belief, as of the date of Plaintiff’s encounter at the
21
     Property and as of the filing of this Complaint, the Defendant has denied and continue
22
     to deny full and equal access to Plaintiff and to other disabled persons, including
23
     wheelchair users, in other respects, which violate plaintiff's rights to full and equal
24
     access and which discriminate against Plaintiff on the basis of his disability, thus
25
     wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
26
     facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
27
     of the ADA. 42 USC§§ 12182 and 12183.
28
           29.    On information and belief, Defendant has continued to violate the law
                                                  6
                                           COMPLAINT
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 1
     and deny the rights of Plaintiff and other disabled persons to access this public
 2
     accommodation since on or before Plaintiff's encounters, as previously noted.
 3
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
 4
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
 5
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
 6
     in violation of the ADA or has reasonable grounds for believing that he is about to be
 7
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
 8
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
 9
     make such facilities readily accessible to and usable by individuals with disabilities to
10
     the extent required by this title."
11
           30.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
12
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
13
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
14
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
15
     to discrimination on the basis of disability in violation of Title III and who has
16
     reasonable grounds for believing he will be subjected to such discrimination each time
17
     that he may attempt to use the property and premises.
18
                                              PRAYER
19
           WHEREFORE, Plaintiff prays that this court award damages and provide relief
20
     as follows:
21
        1. Issue a preliminary and permanent injunction directing Defendant as current
22
     owners, operators, lessors, and/or lessees of the Property to modify the above
23
     described Property and related facilities so that each provides full and equal access to
24
     all persons, including but not limited to persons with physical disabilities who use
25
     wheelchairs, and issue a preliminary and permanent injunction directing Defendant to
26
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
27
     disabilities, and which provide full and equal access, as required by law, including
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     appropriate changes in policy;
                                                   7
                                            COMPLAINT
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 1
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
 2
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
 3
     inaccessible public facilities as complained of herein no longer occur, and can not
 4
     recur;
 5
        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
 6
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
 7
     in this case, all according to proof;
 8
        4. Award to Plaintiff all appropriate damages, including but not limited to
 9
     statutory damages, general damages and treble damages in amounts within the
10
     jurisdiction of this Court, all according to proof;
11
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
12
     costs of this proceeding as provided by law.
13
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
14
     3291;
15
        7. Grant such other and further relief as this Court may deem just and proper.
16

17

18                                           ASCENSION LAW GROUP, PC

19       DATE: April 26, 2022

20                                                      /s/Pamela Tsao

21                                           Pamela Tsao, attorney for Plaintiff

22                                                  MICHAEL C. KEO

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                                              COMPLAINT
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 5                            DEMAND FOR JURY TRIAL
 6
          Plaintiff hereby demands a jury for all claims for which a jury is permitted.
 7

 8

 9                                      ASCENSION LAW GROUP, PC

10      DATE: April 26, 2022

11                                            _____/s/ Pamela Tsao

12                                     Pamela Tsao, attorney for Plaintiff

13                                             MICHAEL C. KEO

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                                               9
                                         COMPLAINT
